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                      IN THE UNITED STATES DISTRICT COURT
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                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9
                                  WESTERN DIVISION
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      UNITED STATES OF AMERICA;                     No. CV 13-5861 JLS (AJWx)
 12   the STATES of CALIFORNIA,
      DELAWARE, FLORIDA,                            ORDER RE AMENDED
 13   GEORGIA, HAWAII, ILLINOIS,                    INTERVENING STATES’
      INDIANA, LOUISIANA,                           CONSOLIDATED NOTICE OF
 14   MICHIGAN, MINNESOTA,                          ELECTION TO INTERVENE IN
      MONTANA, NEVADA, NEW                          PART AND DECLINE TO
 15   HAMPSHIRE, NEW JERSEY, NEW                    INTERVENE IN PART AND
      MEXICO, NEW YORK, NORTH                       DECLINING STATES’
 16   CAROLINA, OKLAHOMA, RHODE                     CONSOLIDATED NOTICE OF
      ISLAND, TENNESSEE, TEXAS, and                 DECLINATION
 17   WASHINGTON;
      COMMONWEALTHS of
 18   MASSACHUSETTS and VIRGINIA,
      and the DISTRICT OF COLUMBIA
 19   ex rel. MARIA GUZMAN,
 20                               Plaintiffs,
 21                    v.
 22   INSYS THERAPEUTICS, INC.;
      MICHAEL BABICH, an individual;
 23   ALEC BURLAKOFF, an individual,
      JOHN N. KAPOOR, and individual,
 24   and DOES 2 through 15,
 25                             Defendants.
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  1                                             ORDER
  2        The Plaintiff States 1 of California, Colorado, Indiana, Minnesota, New York,
  3   North Carolina, and Virginia (the “Intervening States”) having elected to intervene
  4   in part and decline to intervene in part in the following two actions, in which they
  5   are named parties: United States ex rel. Guzman v. Insys Therapeutic, Inc., CV 13-
  6   5861 JLS (AJWx) and United States ex rel. Doe v. Insys Therapeutics, Inc., CV 16-
  7   7937 JLS (AJWx) (collectively, the “actions”) and the Plaintiff States of
  8   Connecticut, Delaware, District of Columbia, Florida, Georgia, Illinois, Iowa,
  9   Louisiana, Maryland, Massachusetts, Michigan, Montana, Nevada, New Jersey,
 10   New Mexico, Oklahoma, Rhode Island, Tennessee, Texas, Vermont, and
 11   Washington, (the “Declining States”) having declined to intervene, and good cause
 12   appearing, IT IS HEREBY ORDERED as follows:
 13        1.    The Intervening States may file and serve their consolidated Complaint-
 14   in-Intervention by August 9, 2018.
 15        2.    As to the parts of the actions in which the Plaintiff States have declined
 16   to intervene at this time, all papers filed henceforth in the actions shall be served
 17   upon every Plaintiff State regardless of whether said Plaintiff State has intervened,
 18   and all orders issued by the Court in these actions shall be sent to counsel for the
 19   Plaintiff States.
 20        3.    The Declining States may order copies of any deposition transcripts, and
 21   shall be served with all notices of appeal.
 22        4.    With respect to the claims brought on the behalf of the other Plaintiff
 23   States, Relators Maria Guzman and Jane Doe may maintain the portions of the
 24   actions declined by the Plaintiff States. Should any Relator or any Defendant
 25   propose any portion of the actions in which the Plaintiff States have declined to
 26   intervene be dismissed, settled, or otherwise discontinued, Relator(s) and the
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             The term “States” includes the 50 states, however denominated, and the District of
 28   Columbia.

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  1   Defendant(s) shall provide the Plaintiff States with notice of the same, and the
  2   Court shall provide an opportunity to be heard before ruling or granting its
  3   approval.
  4        Dated: July 20, 2018
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  6                                       Hon. Josephine L. Staton
  7                                       UNITED STATES DISTRICT JUDGE
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